     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 1 of 8 Page ID #:2431



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                          UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16

17    Michael Corona, Christina Mathis, et al.,   Case No. 2:14-cv-09600-RGK-E
      individually and on behalf of others
18    similarly situated,
                                                  JOINT STATUS REPORT ON
19                             Plaintiffs,        SETTLEMENT
20          vs.
                                                  Hearing Date:   N/A
21    Sony Pictures Entertainment Inc.,           Time:           N/A
                               Defendant.         Courtroom:      850
22
                                                  Judge:          Hon. R. Gary
23                                                                Klausner
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                                                                      Report on Settlement
                                                           Case No. 2:14-cv-09600-RGK-E
     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 2 of 8 Page ID #:2432



 1             Defendant Sony Pictures Entertainment Inc. (“SPE”) and Plaintiffs Michael
 2    Corona, Christina Mathis, Joshua Forster, Ella Carline Archibeque, Marcela Bailey,
 3    Michael Levine, Steven Shapiro, and Geoffrey Springer and the Settlement Class
 4    (“Plaintiffs”), by and through their undersigned counsel, file this Report to update
 5    the Court on developments related to the Settlement, preliminarily approved on
 6    November 25, 2015, in this action. In particular, we would like to update the Court
 7    on the implementation of one aspect of the relief to be offered to the Settlement
 8    Class.
 9             The Settlement provides three primary forms of relief to the Settlement
10    Class. First, SPE will establish a non-reversionary cash fund of $2 million to
11    reimburse Settlement Class Members, subject to certain per-person caps, for
12    preventive measures they have taken to protect themselves from identity theft
13    following the SPE Cyberattack at issue in this case. Modified Settlement
14    Agreement, at ¶ 71. Second, SPE will pay up to $2.5 million (up to $10,000
15    individually) to Settlement Class Members who have experienced unreimbursed
16    losses from identity theft or misuse as a direct result of the SPE Cyberattack. Id. at
17    ¶ 70. Third, SPE will provide certain identity protection services to all Settlement
18    Class Members, free of charge, through December 31, 2017. Id. at ¶ 68.
19             With respect to the third form of relief described above—i.e., identity
20    protection services—the Settlement Agreement anticipated that SPE would provide
21    such services through the company AllClear ID, and specifically through its
22    products AllClear Secure and AllClear PRO, with the latter provided to Settlement
23    Class Members who enroll, free of charge, in the service. The AllClear Secure
24    product provides assistance to recover financial losses and restore stolen identities.
25    The AllClear PRO product provides additional services including, among other
26    benefits, identity theft monitoring, credit monitoring, $1 million in identity theft
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                                                 -1-
                                                                           Report on Settlement
                                                                Case No. 2:14-cv-09600-RGK-E
     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 3 of 8 Page ID #:2433



 1    insurance, fraud detection, lost wallet protection, and detection and restoration
 2    services for identity theft associated with an enrollee’s child.
 3          The AllClear Secure product will be provided to all Settlement Class
 4    Members and is not at issue here. SPE has learned, however, that AllClear ID will
 5    not be able to provide the AllClear PRO service to any Settlement Class Members
 6    who currently reside outside the United States and who do not have a United States
 7    Social Security Number. In total, SPE estimates that this will affect less than 8
 8    percent of the Settlement Class. AllClear PRO will be available to all other
 9    Settlement Class Members as contemplated by the Settlement Agreement.
10          Accordingly, for any Settlement Class Members who currently reside
11    outside of the United States, SPE has arranged to provide substantially equivalent
12    identity protection services to them through an alternate company, called IDT911,
13    as follows: IDT911 will provide each enrollee with identity theft insurance
14    coverage of $1 million, as well as fraud detection, lost wallet protection, and
15    detection and restoration services for identity theft associated with an enrollee’s
16    child. IDT911 will also provide identity theft monitoring to enrollees who reside
17    in Canada, the United Kingdom, and other countries outside of the European
18    Union and, to the extent such identity theft monitoring service is available in their
19    country of residence, the European Union. IDT911 will also provide credit
20    monitoring for enrollees residing in Canada and the United Kingdom, which is
21    where the substantial majority (approximately 90 percent) of the non-U.S. resident
22    Settlement Class Members currently reside. IDT911 is unable to provide credit
23    monitoring in the other non-U.S. countries,1 and SPE has not identified another
24    vendor that can do so. As with the AllClear PRO service, the IDT911 services will
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27      SPE estimates that less than one percent of the overall Settlement Class currently
      resides outside of the United States, Canada, and the United Kingdom.
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                                                -2-
                                                                          Report on Settlement
                                                               Case No. 2:14-cv-09600-RGK-E
     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 4 of 8 Page ID #:2434



 1    be available on an enrollment basis, free of charge to enrollees, for service through
 2    December 31, 2017.
 3          Appropriate modifications have been made to the notices and to the
 4    Settlement Website to make sure Settlement Class Members residing outside of the
 5    United States are aware of the IDT911 identity protection services available to
 6    them and how they can enroll.
 7

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      Dated: January 15, 2016                Respectfully submitted,
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                                               -3-
                                                                         Report on Settlement
                                                              Case No. 2:14-cv-09600-RGK-E
     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 5 of 8 Page ID #:2435



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                                           -4-
                                                                    Report on Settlement
                                                         Case No. 2:14-cv-09600-RGK-E
     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 6 of 8 Page ID #:2436



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                                                                   Report on Settlement
                                                        Case No. 2:14-cv-09600-RGK-E
     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 7 of 8 Page ID #:2437



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                                           -6-
                                                                   Report on Settlement
                                                        Case No. 2:14-cv-09600-RGK-E
     Case 2:14-cv-09600-RGK-E Document 155 Filed 01/15/16 Page 8 of 8 Page ID #:2438



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      signatories listed, on whose behalf the filing is submitted, concur in this filing’s
20
      content and have authorized this filing.
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                                                                          Report on Settlement
                                                               Case No. 2:14-cv-09600-RGK-E
